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AO 245B      (Rev. 11/16) Judgment in a Criminal Case                                                                                  LMM/tmh (18610)
              Sheet 1




                                        United States District Court
                                                        Western District Of New York

             UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  V.


                                                                                   Case Number:           T.13CR0015I-00I
                         Ryan C Eander
                                                                                   USM Number:            22290-055

                                                                                   Patrick J. Brown
                                                                                   Defendant's Attorney

THE DEFENDANT:

|xl pleaded guilty to count         1 of the Indictment

□ pleaded noio contendere to count(s)                                                                              AUG 1 6 2019
    which was accepted by the court.

□ was found guilty on count(s)
                                                                                                                       DISTRlS
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                           Offense Ended             Count


18 U.S.C. §2251(a) and            Production of Child Pornography                                                  03/07/13

18 U.S.C. §2251(e)




       The defendant is sentenced as provided in pages 2 through                            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
S Counts 2 and 3 of Indictment 1:13CR00151-001            □ is       a re   dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            Augusts, 2019                      _        _     _    _        _
                                                                            Date of Imposition of Judgment




                                                                            Sigrtature ofcludge




                                                                            Honorable RicharcCJ. Arcara, Senior U.S. District Judge
                                                                            Name and Title of Judge




                                                                            Date
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A0245B      (Rev. 11/16)Judgment in Criminal Case                                                                                   LMM/tmh(18610
            Sheet 2 — Imprisonment
                                                                                                      Judgment — Page      2   of         7
 DEFENDANT:                      Ryan C Lander
 CASE NUMBER:                    1:13CR00151-001



                                                             IMPRISONMENT


           The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a total term of:
                                                                        262 months


                                                        The cost ofincarcerationfee is waived.


           The court makes the following recommendations to the Bureau of Prisons:
           The defendant shall be housed at PMC Devens in Massachusetts.




       S   The defendant is remanded to the custody ofthe United States Marshal.

       □   The defendant shall surrender to the United States Marshal for this district:

           □     at                                 □ a.m.       □ p.m.            on
           □     as notified by the United States Marshal.

       □   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           □     before 2 p.m. on                                             .
           n     as notified by the United States Marshal.
            □     as notified by the Probation or Pretrial Services Office.


                                                                   RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                         to

  at                                                  , with a certified copy of this judgment.

                                                                                                     UNITED STATES MARSHAL




                                                                                  By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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DEFENDANT;                    Ryan C Lander
CASE NUMBER:                  1:13CR00151-001

                                                      SUPERVISED RELEASE
                                                                                                      Ten(10) years
Upon release from imprisonment, you will be on supervised release for a term of.
                                                   MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              p-i The above drug testing condition is suspended, based on the court's determination that
                    you pose a low risk offuture substance abuse, (check ifapplicable)
4. □          You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
              restitution, (check if applicable)

 5.      13   You must cooperate in the collection of ON A as directed by the probation officer, (check if applicable)
 6. 13        You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency m which you reside,
              work, are a student, or were convicted of a qualifying offense, (check if applicable)
 7.      D    You must participate in an approved program for domestic violence, (check ifapplicable)


 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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              Sheet 3A — Supervised Release
                                                                                                        Judgment—Page            of

DEFENDANT:                     Ryan C Lander
CASE NUMBER:                   1:13CR00151-001

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.

  2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed
  3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
          court or the probation officer.
  4.      You must answer truthfully the questions asked by your probation officer.
  5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
          hours of becoming aware of a change or expected change.
  6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7. You must work full time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
          or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
          probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
  11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission ofthe court.
  12.     Ifthe court determines in consultation with your probation officer that, based on your criminal record, personal history and
          characteristics, and the nature and circumstances of your offense, you pose a risk of committing further crimes against another person
          (including an organization), the probation officer may require you to notify the person about the risk and you must comply with that
          instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
  13.     You must follow the instructions ofthe probation officer related to the conditions ofsupervision.

 U.S. Probation Office Use Only
 Upon a finding of a violation of probation or supervised release, I understand that this court may(1)revoke supervision,(2)extend the terms
 of supervision, and/or(3) modify the conditions of probation or supervised release. A U.S. probation officer has instructed me on the
 conditions specified by the court and has provided me with a written copy ofthis judgment containing these conditions. For further
 information regarding these conditions, see Overview ofProbation and Supervised Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                                  Date


 U.S. Probation Officer's Signature                                                                     Date
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            Sheet 3B — Supervised Release
                                                                                                       Judgment—Page          5    of

DEFENDANT:                 Ryan C Lander
CASE NUMBER:                1:13CR00151-001


                                         SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not use or possess any computer, data storage device, or any internet capable device unless the defendant participates in
the Computer and Internet Monitoring Program(GIMP),or unless authorized by the Court or the U.S. Probation Office. The defendant must
provide the U.S. Probation Office advance notification of any computer(s), automated service(s), or connected device(s) that will be used
during the term of supervision. The U.S. Probation Office is authorized to install any application as necessary to surveil all activity on
computer(s) or connected device(s) owned or operated by the defendant. The defendant will be required to pay the cost of monitoring
services. The U.S. Probation Office shall be notified via electronic transmission of impermissible/suspicious activity or communications
occurring on such computer or connected device, consistent with the computer monitoring policy in effect by the probation office. As
triggered by impermissible/suspicious activity,the defendant shall consent to and cooperate with unannounced examinations ofany computer
equipment owned or used by the defendant. This examination shall include but is not limited to retrieval and copying of all data from the
computer(s), connected device(s), storage media, and any internal or external peripherals, and may involve removal of such equipment for
the purpose ofconducting a more thorough inspection. Any such monitoring or examinations shall be designed to avoid, as much as possible,
reading any privileged information or any private material that is not illegal or reasonably likely to lead to illegal material or evidence related
to illegal activity.

The defendant must participate in a sex offense-specific treatment program and follow the rules and regulations of that program. The
probation officer will supervise the details ofthe defendant's participation in the program, including the selection ofa provider and schedule.
The defendant is not to leave treatment until complete or as ordered by the Court. The defendant is required to contribute to the cost of
services rendered.


The defendant shall not have deliberate contact with any child under 18 years of age, excluding his biological or adopted children, unless
approved by the probation officer or by the Court. The defendant shall not loiter within 100 feet of school yards, playgrounds, arcades or
other places primarily used by children under the age of 18. The Probation Office has the discretion to authorize the defendant to pick up
his children from school or other functions; however, authorization must be obtained in advance from the Probation Office or alternatively
from the Court.


In order to monitor the defendant's compliance with not buying or subscribing to online services that provide child pornography, the
defendant shall provide the U.S. Probation Office with access to any requested personal and/or business financial information.

The defendant shall register with the state sex offender registration agency in any state where the defendant resides, is employed, carries on
a vocation, or is a student, and shall provide proof of registration to the probation officer. The probation office is authorized to release the
defendant's presentence report to the New York State Board of Examiners of Sex Offenders. Further disclosure to the county court and to
the parties involved in the determination ofthe defendant's final classification level is also authorized.

The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property under his control, based
upon reasonable suspicion, and permit confiscation of any evidence or contraband discovered.

The defendant shall submit to polygraph, computerized voice stress analyzer or other such testing, not to exceed twice in a calendar year,
and an additional two re-tests per year, as needed. That testing may include examinations using a polygraph, computerized voice stress
analyzer, or other similar device to obtain information necessary for supervision, case monitoring, and treatment. The defendant shall
answer the questions posed during the examination, subject to the defendant's right to challenge in a court oflaw the use ofsuch statements
as violations of the defendant's Fifth Amendment rights. In this regard, the defendant shall be deemed not to have waived the defendant's
Fifth Amendment rights by making any such statements. The results of any polygraph pre-tests and polygraph examinations may be
disclosed to the US Probation office and the Court, but shall not be further disclosed without a court order. The defendant is required tc
contribute to the cost of services rendered.
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AO 245B      (Rev. 11/16)Judgment in a Criminal Case                                                                                           LMM/tmh(1861
              Sheet 4 — Criminal Monetary Penalties
                                     "                      ~                                                       Judgment—Page       6     of
DEFENDANT:                            Ryan C Lander
CASENUMBER:                           1:13CR00151-001

                                                 CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                        Assessment                         JVTA Assessment*                   Fine                           Restitution
TOTALS            $ 100                                $ 0                               $ 0                             $ 0

 □ The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case(A0245C) will be entered
      after such determination.

 □    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise i
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be pai
      before the United States is paid.

 Name of Payee                                        Total Loss**                          Restitution Ordered                     Priority or Percentage




 TOTALS                                $

 □     Restitution amount ordered pursuant to plea agreement $
 □ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteen
   day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties 1
       delinquency and default, pursuant to 18 U.S.C. § 3612(g).
  □    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          □ the interest requirement is waived for the             D       fine    Q     restitution.
          □ the interest requirement for the           □    fine       □      restitution is modified as follows:

  * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  ** Findings for the total amount of losses are required under Chapters 109 A, 110, 1 lOA, and 113A of Title 18 for offenses committed on o
 after September 13, 1994, but before April 23, 1996.
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AO 245B     (Rev. 11/16) Judgment in a Criminal Case                                                                                   LMM/tmh (18610)
            Sheet 5 — Schedule of Payments

                                                                                                          Judgment — Page       7      of       7_
 DEFENDANT:                    Ryan C Lander
 CASE NUMBER:                  1:13CROO151-001

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

 A     □ Lump sum payment of $                                   due immediately, balance due

            □     not later than                                     , or
            □     in accordance         DC,            □    D,   □    E, or   □ F below; or

 B     g|   Payment to begin immediately (may be combined with                DC,       □       D, or   |x| F below); or

 C     □ Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                     (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

 D     □ Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                     (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     □ Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     1^ Special instructions regarding the payment of criminal monetary penalties:
            The defendant shall pay a special assessment of $100, which shall be due immediately. If incarcerated, payment shall begin
            under the Bureau of Prisons Inmate Financial Responsibility Program. Payments shall be made to the Clerk, U.S. District Court
            (WD/NY), 2 Niagara Square, Buffalo, New York 14202.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 □     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 □     The defendant shall pay the cost of prosecution.
 □     The defendant shall pay the following court cost(s):
 IS    The defendant shall forfeit his interest in the property set forth in Section VII of the Plea Agreement.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
